                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 June 12, 2020
                        UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         § MAG. JUDGE ACTION NO. 2:20-MJ-1208
                                            §
SIVA BROWN                                  §


 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

        A detention hearing was held today in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

        (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

        (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

        The evidence against the defendant meets the probable cause standard.           The

defendant is charged with a serious offense involving a significant amount of

methamphetamine, the defendant confessed to Drug Enforcement Administration Agents

that she was trafficking in methamphetamine, was on bond for a felony drug offense at

the time of this offense, was not in compliance with her bond, and has a poor history on

court ordered supervision.    She is a poor candidate for bond.       The findings and

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recommendation of U.S. Pretrial Services is adopted by this Court.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



       ORDERED this 12th day of June, 2020.


                                             ___________________________________
                                             Julie K. Hampton
                                             United States Magistrate Judge




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